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     8                        UNITED STATES DISTRICT COURT
     9                       CENTRAL DISTRICT OF CALIFORNIA
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    11    CANDIDO SANTANA, et al.,                Case No. CV 21-2815-GW-JEMx

    12                       Plaintiff,

    13          v.                                  ORDER TO DISMISS WITH
                                                    PREJUDICE
    14    ABM INDUSTRY GROUPS, LLC,
          et al.,
    15
                             Defendants.
    16

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    18
               Based upon the stipulation between the parties and their respective counsel,
    19
         it is hereby ORDERED that this action is dismissed with prejudice in its entirety.
    20
         Each party will bear its own attorneys’ fees and expenses.
    21
               IT IS SO ORDERED.
    22

    23
         Dated: November 22, 2021
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                                               _________________________________
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                                               HON. GEORGE H. WU,
    26                                         UNITED STATES DISTRICT JUDGE
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